                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            WESTERN DISTRICT OF MISSOURI


LET’S GO AERO, INC.,                 )
                                     )
                    Plaintiff,       )
                                     )
v.                                   )               Case No. 6:20-cv-03273-MDH
                                     )
FORCOME LTD., a Chinese Corporation, )
and DAVID WANG a/k/a WANG GANG,      )
and URIAH PRODUCTS, LLC, a Missouri )
Limited Liability Company,           )
                                     )
                    Defendant.       )


                                             ORDER


       Before the Court is Defendant Uriah Products, LLC’s (“Uriah”) Motion to Stay this

Action Pending Arbitration. (Doc. 14). Uriah moves this Court for an entry of an Order staying

this action pending arbitration in Let’s Go Aero, Inc. v. Forcome LTD, Case No. 25644/PDP, and

arbitration under the rules of the International Court of Arbitration of the International Chamber

of Commerce. Plainitff Let’s Go Aero, Inc. (“LGA”) has no objection to staying the action with

respect to Uriah.

       The Court GRANTS Uriah’s Motion and the case is stayed pending arbitration in Let’s

Go Aero, Inc. v. Forcome LTD, Case No. 25644/PDP. The parties are required to provide the

Court with a status report every 6 months, as well as a status report within 30 days of the

arbiter’s decision.

IT IS SO ORDERED.

Dated: January 12, 2021                                       /s/ Douglas Harpool______
                                                             DOUGLAS HARPOOL
                                                             United States District Judge



         Case 6:20-cv-03273-MDH Document 18 Filed 01/12/21 Page 1 of 1
